Case 3:22-cv-01754-JFS-PJC Document58- Filed 03/12/25 Page iof4

THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

DAVID J. CATANZARO,
286 Upper Powderly Street

Carbondale, Pennsylvania 18407 Case No. 3:22-cv-1754 .
Plaintiff, Judge Joseph F. Saporito, Jr.
a VS. Referred to: Phillip J. Caraballo
LYKART TECHNOLOGIES LLC,

GROWKART, TRANSFORN SR
BRANDS LLC; KMART, KMART.COM, | -
SEARS, SEARS.COM, ALPHABET JURY TRIAL.DEMANDED
INC., GOOGLE LLC, YOUTUBE.COM,
POSHMARK INC., STL PRO, INC.,

TARGET CORPORATION, FILED
' TARGET.COM, TOTALHILL.COM, SCRANTON
MICROSOFT CORPORATION, INC.,
APPLE INC. and MOZILLA MAR 12 2025
CORPORATION
PER CP
Defendants. DEPUTY CLERK
NOTICE OF ERRATA

Plaintiff, David J. Catanzaro proceeding pro se, hereby submits this Notice of Errata
to correct a clerical error in the first paragraph of Plaintiffs proposed Verified Fifth
Amended Complaint for Patent Infringement (“Fifth Amended Complaint’) filed by
the Clerk on March 7, 2025 [ECF 53] as part of Plaintiffs Motion For Leave. Plaintiff
made an error by not including the words "inducement of infringement" and
“unjust enrichment" in the initial paragraph, which was intended to summarize all
claims. asseried in the Fifth Amended Complaint.

ERROR:
Case 3:22-cv-01754-JFS-PJC Document58 _ Filed 03/12/25 Page 2 of 4

The first paragraph of the Fifth Amended Complaint currently reads:

“Plaintiff, David J. Catanzaro (“Plaintiff’ or “Mr. Catanzaro”), complains of Lykart
Technologies, LLC, GrowKart, Alphabet Inc., Google LLC, Youtube.com, Poshmark
Inc., Target Corporation, Target.com, Microsoft Corporation, Inc., Apple Inc. and
Mozilla Corporation (collectively, "Defendants") for patent infringement, contributory
infringement, and Willful blindness.”

CORRECTION:
The first paragraph should correctly read:

“Plaintiff, David J. Catanzaro (“Plaintiff’ or “Mr. Catanzaro”), complains of Lykart
Technologies, LLC, GrowKart, Alphabet Inc., Google LLC, Youtube.com, Poshmark
Inc., Target Corporation, Target.com, Microsoft Corporation, Inc., Apple Inc. and
Mozilla Corporation (collectively, "Defendants") for patent infringement, contributory
infringement, Willful blindness, inducement of infringement, and unjust enrichment.”

REASON FOR CORRECTION:

This correction is necessary to accurately reflect all claims asserted in the Fifth

Amended Complaint, specifically the claims for inducement of infringement and
unjust enrichment, which were inadvertently omitted from the initial paragraph. This
is a clerical error and does not alter the substance of the claims as presented in the
complaint.

WHEREFORE, Plaintiff respectfully requests that this honorable Court accept this
Notice of Errata and that this correction be noted and considered part of the official
record of the Fifth Amended Complaint.
Case 3:22-cv-01754-JFS-PJC. Document58_ Filed 03/12/25 Page 3of4

Date March 12, 2025
Respectfully submitted,

ZL0/ I>
David J. Catanzaro C) "
Plaintiff pro se
286 Upper Powderly Street
Carbondale, PA 18407

Phone: (570) 936-9262
E-mail: davidjosephus@aol.com

Case 3:22-cv-01754-JFS-PJC Document 58: Filed 03/12/25 Page 4of4

CERTIFICATE OF SERVICE

|, David J. Catanzaro, hereby certify that on March 12, 2025 | have served a true
and correct copy of Plaintiffs NOTICE OF ERRATA to the following parties via
electronic mail, where available, and otherwise by first-class mail:

Lykart Technologies, LLC, and GrowKart
30 N Gould St Suite 5707
Sheridan, WY 82801, US

John V. Gorman

MORGAN, LEWIS & BOCKIUS LLP
2222 Market Street

Philadelphia, PA 19103
john.gorman@morganlewis.com

Bridget E. Montgomery,

ECKERT SEAMANS CHERIN & MELLOTT, LLC
213 Market Street, 8th Floor

Harrisburg, PA 17101
bmontgomery@eckertseamans.com

Target Corporation & Target.com
1000 Nicollet Mail, Minneapolis,
Minnesota, 55403

Microsoft Corporation, inc.
One Microsoft Way,
Redmond, WA 98052

Apple Inc.
One Appie Park Way
Cupertino, CA 95014

Mozilla Corporation

149 New Montgomery Street, 4” Floor,
San Francisco, CA 94105.

Date March 12, 2025 LLL
on.

David J. Catanzaro
Plaintiff pro se
286 Upper Powderly Stre

Carbondale, PA 18407
Phone: (570) 936-9262
E-mail: davidjosephus@aol.com

